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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


 JOSIAH COLON, et al.,

          Plaintiffs,

     v.                                      Case No. 8:23-cv-223-MSS-NHA

 BUREAU OF ALCOHOL,
 TOBACCO, FIREARMS, AND
 EXPLOSIVES, et al.,

          Defendants.


                              NOTICE OF APPEAL

      PLEASE TAKE NOTICE that all defendants hereby appeal to the United

States Court of Appeals for the Eleventh Circuit from this Court’s opinion and order

dated January 26, 2024, ECF No. 47, granting in part plaintiffs’ motion for a

preliminary injunction, ECF No. 21.


Dated: March 22, 2024           Respectfully submitted,

                                BRIAN M. BOYNTON
                                Principal Deputy Assistant Attorney General

                                BRIGHAM J. BOWEN
                                Assistant Branch Director

                                /s/ Taylor Pitz
                                TAYLOR PITZ (CA Bar No. 332080)
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                                Trial Attorneys

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                             CERTIFICATE OF SERVICE
       On March 22, 2024, I electronically submitted the foregoing document with the
Clerk of Court for the U.S. District Court, Middle District of Florida, using the Court’s
electronic case filing system. I hereby certify that I have served all parties electronically
or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                  /s/ Taylor Pitz
                                                  TAYLOR PITZ
                                                  Trial Attorney
                                                  U.S. Department of Justice




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